 Fill in this information to identify your case:

 Debtor 1                  Scott A. Moss
                           First Name                       Middle Name              Last Name

 Debtor 2                  Marla R. Moss
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number            18-12511-jps
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         First National Bank of PA                            Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 5008 Stansbury Dr. Solon, OH                             Reaffirmation Agreement.
    property       44139 Cuyahoga County                                    Retain the property and [explain]:
    securing debt: PPN 952-14-066
                   CUYAHOGA COUNTY WEB
                   LEGAL DESCRIPTION: 1-4
                   CHESWICK II 0091 ALL


    Creditor's         First National Bank of PA                            Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 5008 Stansbury Dr. Solon, OH                             Reaffirmation Agreement.
    property       44139 Cuyahoga County                                    Retain the property and [explain]:
    securing debt: PPN 952-14-066
                   CUYAHOGA COUNTY WEB
                   LEGAL DESCRIPTION: 1-4
                   CHESWICK II 0091 ALL

 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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 Debtor 1      Scott A. Moss
 Debtor 2      Marla R. Moss                                                                         Case number (if known)    18-12511-jps

in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:               Chrysler Capital                                                                                   No

                                                                                                                                 Yes

 Description of leased        7/2016 2016 Jeep Compass $215/month through 7/2019
 Property:

 Lessor's name:               Ford Credit                                                                                        No

                                                                                                                                 Yes

 Description of leased        2018 Ford Escape $348.73per month through 3/2021
 Property:

 Lessor's name:               Mercedes-Benz Financial                                                                            No

                                                                                                                                 Yes

 Description of leased        2017 C300 lease $486.31 per month through 2/2021
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Scott A. Moss                                                            X /s/ Marla R. Moss
       Scott A. Moss                                                                   Marla R. Moss
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        December 17, 2018                                                Date    December 17, 2018




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

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